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 4   Attorney for Defendant
     JIMMIE PERRYMAN
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 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                           No. 2:08-CR-0197 GEB
11                                 Plaintiff,            STIPULATION AND [PROPOSED]
                                                         ORDER TO CONTINUE STATUS
12          vs.                                          CONFERENCE, AND TO EXCLUDE
                                                         TIME PURSUANT TO THE SPEEDY
13   JIMMIE PERRYMAN,                                    TRIAL ACT
14                                 Defendant.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Todd Leras, Assistant United States Attorney, attorney for plaintiff, and
18   Michael E. Hansen, attorney for defendant Jimmie Perryman, that the previously-scheduled
19   status conference date of March 29, 2013, be vacated and the matter set for status
20   conference/change of plea on May 10, 2013, at 9:00 a.m..
21          This continuance is requested to allow counsel additional time to engage in plea
22   negotiations. The parties are working diligently towards a resolution.
23          The Government concurs with this request.
24          Further, the parties agree and stipulate the ends of justice served by the granting of such
25   a continuance outweigh the best interests of the public and the defendant in a speedy trial and
26   that time within which the trial of this case must be commenced under the Speedy Trial Act
27   should therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to
28   Local Code T4 (to allow defense counsel time to prepare), from the date of the parties’


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 1   stipulation, March 29, 2013, to and including May 10, 2013.
 2           Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 3           IT IS SO STIPULATED.
 4   Dated: March 28, 2013                                 Respectfully submitted,
 5                                                         /s/ Michael E. Hansen
                                                           MICHAEL E. HANSEN
 6                                                         Attorney for Defendant
                                                           JIMMIE PERRYMAN
 7
     Dated: March 28, 2013                                 BENJAMIN B. WAGNER
 8                                                         United States Attorney
 9                                                         By: /s/ Michael E. Hansen for
                                                           TODD LERAS
10                                                         Assistant U.S. Attorney
                                                           Attorney for Plaintiff
11
12                                       [PROPOSED] ORDER
13           The Court, having received, read, and considered the stipulation of the parties, and
14   good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
15   Based on the stipulation of the parties and the recitation of facts contained therein, the Court
16   finds that it is unreasonable to expect adequate preparation for pretrial proceedings and trial
17   itself within the time limits established in 18 U.S.C. section 3161. In addition, the Court
18   specifically finds that the failure to grant a continuance in this case would deny defense
19   counsel to this stipulation reasonable time necessary for effective preparation, taking into
20   account the exercise of due diligence. The Court finds that the ends of justice to be served by
21   granting the requested continuance outweigh the best interests of the public and the defendants
22   in a speedy trial.
23           The Court orders that the time from the date of the parties’ stipulation, March 29, 2013,
24   to and including May 10, 2013, shall be excluded from computation of time within which the
25   trial of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. section
26   3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for defense counsel to prepare). It is
27   further ordered that the March 29, 2013, status conference shall be continued until May 10,
28   2013, at 9:00 a.m.


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 1                         IT IS SO ORDERED.
 2   Date: 3/28/2013
 3                                                  ___________________________________
                                                    GARLAND E. BURRELL, JR.
 4                                                  Senior United States District Judge
 5   DEAC_Signature-END:                                         __________________________________
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     Stipulation and [Proposed] Order to Continue Status Conference
